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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                                CASE NO. 3:05cr133LAC

BERNICE GELACIA RIOS

                                 REFERRAL AND ORDER

Referred to Judge Lacey Collier on December 23, 2005
Motion/Pleadings: STIPULATION FOR SUBSTITUTION OF COUNSEL (that atty Richbourg
be substitutted for atty Wilson)
Filed byDEFENDANT                           on 12/21/05     Doc.# 31
RESPONSES:
                                            on              Doc.#
                                            on              Doc.#
        Stipulated              Joint Pldg.
        Unopposed               Consented
                                            WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                            ORDER
Upon   consideration      of   the   foregoing,       it    is    ORDERED    this   27 th   day   of
December, 2005, that:
(a) The relief requested is GRANTED.
(b)




                                                                 s /L.A. Collier
                                                            LACEY A. COLLIER
                                                  Senior United States District Judge


Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
